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Notice of Award Cancellation for All                                 Awards
1 message

CommunityCompass <CommunityCompass@hud.gov>                                                      Tue, Feb 25, 2025 at 6:08 PM
To:


 Dear



 Please see the attached letter from the Acting Deputy Secretary regarding all of your FHEO TA awards. At the direction of
 the Department of Government Efficiency (DOGE), the Administration is terminating all TA awards on the basis that your
 operations are not in compliance with the Executive Order titled “Ending Radical and Wasteful Government DEI Programs
 and Preferencing” since key words were found on your website or LinkedIn Profile by staff at DOGE.



 Thank you,



 U.S. Department of Housing and Urban Development




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